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                                   #:5500

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10
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11
12                       CENTRAL DISTRICT OF CALIFORNIA
13                               SOUTHERN DIVISION
14     JOHN C. EASTMAN                        Case No. 8:22-cv-00099-DOC-DFM
15
                  Plaintiff,
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                Defendants.
20
21

22
23
24
25
                                     Exhibit R
26
27

28
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 2 of 10 Page ID
                                  #:5501




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 3 of 10 Page ID
                                  #:5502




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 4 of 10 Page ID
                                  #:5503




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 5 of 10 Page ID
                                  #:5504




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 6 of 10 Page ID
                                  #:5505




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 7 of 10 Page ID
                                  #:5506




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 8 of 10 Page ID
                                  #:5507




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 9 of 10 Page ID
                                  #:5508




                               Ex. 4 to Petition:
                                  Davis Aff.
Case 8:22-cv-00099-DOC-DFM Document 350-19 Filed 05/26/22 Page 10 of 10 Page ID
                                  #:5509




                               Ex. 4 to Petition:
                                  Davis Aff.
